      Case 1-18-44963-cec            Doc 24      Filed 11/12/18       Entered 11/12/18 18:19:11




                                                                            November 12, 2018

Chief Judge Carla E. Craig
United States Bankruptcy Court
Eastern District of New York
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East – Suite 1595
Brooklyn, NY 11201-1800

                 Debtor:     Eda Colebrook
                 Case No.:   1-18-44963-cec
                 Chapter:    13
                 Property Address: 726 Hemlock Street, Brooklyn, NY 11208

Dear Judge Craig,

        This firm represents Nationstar Mortgage LLC d/b/a Mr.Cooper as servicer for U.S. Bank
National Association, as Trustee, Successor in interest to Bank of America National Association, as
Trustee, Successor by Merger to Lasalle Bank National Association, as Trustee for Lehman XS Trust
Mortgage Pass-Through Certificates, Series 2005 a secured creditor of the above-named Debtor. On
October 5, 2018, a Loss Mitigation Order was entered by this Court. We respectfully request that the
below serve as a status update on the aforementioned loss mitigation proceeding. The Loss Mitigation
conference is scheduled for November 13, 2018 at 12:00 PM.

        Our client has approved the Debtor for a Trial Payment Plan Agreement for the months of
October 2018, November 2018 and December 2018 with payments due each month in the amount of
$1,800.52. At this time our client has indicated receipt of the first trial payment, the file is now pending
the completion of the trial modification.

        Thank you for your consideration. Please do not hesitate to contact me with any questions you may
have regarding the matter.

                                                                    Respectfully,

                                                                    /s/_Barbara Whipple__
                                                                    Barbara Whipple Esq.
                                                                    Robertson, Anschutz & Schneid, PL
                                                                    bwhipple@rasflaw.com
cc: Denrick Cooper, Esq (Via ECF)
